Case 3:17-cv-01069-TAD-JPM Document 59 Filed 03/04/19 Page 1 of 1 PagelD #: 649

BLANCHARD WALKER

U.S. DISTRICT COURT

 

 

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VIA U.S. MATL | SCOIT R. WOLF
Hon. Terry A. Doughty , Direct: 318.934.0228
United States District Judge Eraetil: swoll@bwor.com
201 Jackson Street, Suite 215 eens in
Monroe, Louisiana 71201 yous
EXUS

Nevada

Re: Lloyd Price vs. Wal-Mart Louisiana, LLC, et al.; No, 3:17-CV-01069 Arizona

US.D.C.; Western District of Louisiana, Monroe Division
Our File No. 450056.541

Dear Judge Doughty:

This letter is to advise the Court that the parties have reached a settlement in this matter.
Accordingly, the Court may remove the trial set for the week of May 13, 2019, from the Court’s
calendar and the Court does not need to take any action on any pending motions. We will soon
forward a stipulation of dismissal to the Court. “ah

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If you should have any questions, please do not hesitate to contact me. aN

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Sincerely, ay Ve Ys
<— \
Scott R. Wolf
SRW/ao
cc: Ross Downs, Jr., Esq.

Matthew W. Bailey, Esq.

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WH MERITAS LAW FIRMS WORLDWIDE

 
